     Case 3:20-cv-01005-TWR-NLS Document 19 Filed 09/30/21 PageID.361 Page 1 of 3



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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11    IN RE LISA GOLDEN                            Case Nos.: 19-CV-488 TWR (NLS), 19-
                                                   CV-836 TWR (NLS), 19-CV-2065 TWR
12
                                     Debtor.       (NLS), 19-CV-2178 TWR (NLS), 19-
13                                                 CV-2320 TWR (NLS), 19-CV-2462
                                                   TWR (NLS), 19-CV-2463 TWR (NLS),
14
                                                   20-CV-47 TWR (NLS), 20-CV-50 TWR
15                                                 (NLS), 20-CV-52 TWR (NLS), 20-CV-
                                                   55 TWR (NLS), 20-CV-57 TWR (NLS),
16
                                                   20-CV-59 TWR (NLS), 20-CV-61 TWR
17                                                 (NLS), 20-CV-205 TWR (NLS), 20-CV-
                                                   206 TWR (NLS), 20-CV-207 TWR
18
                                                   (NLS), 20-CV-725 TWR (NLS), 20-CV-
19                                                 857 TWR (NLS), 20-CV-950 TWR
                                                   (NLS), 20-CV-951 TWR (NLS), 20-CV-
20
                                                   952 TWR (NLS), 20-CV-999 TWR
21                                                 (NLS), 20-CV-1001 TWR (NLS), 20-
                                                   CV-1002 TWR (NLS), 20-CV-1004
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                                                   TWR (NLS), 20-CV-1005 TWR (NLS),
23                                                 20-CV-1044 TWR (NLS), 20-CV-1087
                                                   TWR (NLS), 20-CV-1255 TWR (NLS),
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                                                   20-CV-1826 TWR (NLS)
25
                                                   Bankruptcy No.: 17-6928 MM7
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27                                                 ORDER (1) SPREADING
                                                   MANDATE, AND (2) DISMISSING
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                                                                    19-CV-488 TWR (NLS) et al.
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 1                                                          ACTIONS FOR FAILURE TO PAY
                                                            FILING FEE AND COMPLY WITH
 2
                                                            THE COURT’S ORDER
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 4          Presently before the Court are the Mandates of the Court of Appeals for the Ninth
 5   Circuit for the above-captioned bankruptcy appeals.1 (See, e.g., Case No. 19-CV-488 TWR
 6   (NLS) ECF No. 30.) Pursuant to the Ninth Circuit’s Order, (see, e.g., id. at 2), the Court
 7   SPREADS the Mandates and resumes jurisdiction over the above-captioned bankruptcy
 8   appeals.
 9          Also before the Court are the Orders issued by the Honorable Dana M. Sabraw on
10   September 30, 2020, (see, e.g., Case No. 19-CV-488 TWR (NLS) ECF No. 19), and by
11   this Court on December 2, 2020, (see, e.g., Case No. 19-CV-488 TWR (NLS) ECF No.
12   21), requiring Ms. Golden to pay the filing fee in each of the above-captioned bankruptcy
13   appeals. The dockets of each of the above-captioned bankruptcy appeals reflect that
14   Ms. Golden has not paid the filing fee, has not subsequently filed a renewed motion to
15   proceed in forma pauperis, and has not otherwise declared under penalty of perjury that
16   her financial circumstances have changed such that a fee waiver is now appropriate. (See
17   generally Dockets.) Accordingly, the Court DISMISSES WITHOUT PREJUDICE the
18   above-captioned bankruptcy appeals for failure to pay the requisite filing fee and for failure
19   to comply with the Court’s December 2, 2020 Order. See S.D. Cal. Civ. L.R. 83.1(a); see
20   also Fed. R. Bankr. P. 8003(a)(3)(C) (“The notice of appeal must . . . be accompanied by
21
22   1
      All references in this Order to the “above-captioned bankruptcy appeals” refer to these cases: Case No.
     19-CV-488 TWR (NLS), Case No. 19-CV-836 TWR (NLS), Case No. 19-CV-2065 TWR (NLS), Case
23   No. 19-CV-2178 TWR (NLS), Case No. 19-CV-2320 TWR (NLS), Case No. 19-CV-2462 TWR (NLS),
24   Case No. 19-CV-2463 TWR (NLS), Case No. 20-CV-47 TWR (NLS), Case No. 20-CV-50 TWR (NLS),
     Case No. 20-CV-52 TWR (NLS), Case No. 20-CV-55 TWR (NLS), Case No. 20-CV-57 TWR (NLS),
25   Case No. 20-CV-59 TWR (NLS), Case No. 20-CV-61 TWR (NLS), Case No. 20-CV-205 TWR (NLS),
     Case No. 20-CV-206 TWR (NLS), Case No. 20-CV-207 TWR (NLS), Case No. 20-CV-725 TWR (NLS),
26   Case No. 20-CV-857 TWR (NLS), Case No. 20-CV-950 TWR (NLS), Case No. 20-CV-951 TWR (NLS),
     Case No. 20-CV-952 TWR (NLS), Case No. 20-CV-999 TWR (NLS), Case No. 20-CV-1001 TWR
27   (NLS), Case No. 20-CV-1002 TWR (NLS), Case No. 20-CV-1004 TWR (NLS), Case No. 20-CV-1005
28   TWR (NLS), Case No. 20-CV-1044 TWR (NLS), Case No. 20-CV-1087 TWR (NLS), Case No. 20-CV-
     1255 TWR (NLS), and Case No. 20-CV-1826 TWR (NLS).

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                                                                                    19-CV-488 TWR (NLS) et al.
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 1   the prescribed filing fee.”); 28 U.S.C. § 1930(c) ($5 appeal fee); Bankruptcy Court
 2   Miscellaneous Fee Schedule item 14 ($293 for appeal). The Clerk of the Court SHALL
 3   CLOSE the files for each of the above-captioned bankruptcy appeals.
 4         IT IS SO ORDERED.
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 6   Dated: September 30, 2021
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